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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

JACQUELINE BEEBE, individually and on
behalf of all others similarly situated,
AMENDED SCHEDULING ORDER

Plaintiff,
17-CV-6075W

V.

V&J NATIONAL ENTERPRISES, LLC, et al.,

Defendants.

 

Pursuant to the Court’s March 4, 2019 Order (Docket # 182) and the parties have
conferred and submitted a proposed amended schedule for the Court’s consideration, and this
Court having considered the parties’ submission, and good cause having been shown, it is hereby

ORDERED, that:

1. All depositions currently noticed by plaintiff — i.e., the deposition of
Valarie Daniels-Carter, David Boose, Calvin Scott, and John Daniels - shall be completed by
April 10, 2019, with dates and locations mutually-agreed to by the parties.

2. All motions to join other parties and to amend the pleadings shall be filed
on or before May 10, 2019. Any third party action shall be commenced on or before May 10,
2019.

3, The deadline for the filing of plaintiff's anticipated Motion for Class
Certification of the New York Labor Law Claim under Fed. R. Civ. P. 23 shall be set for July 8,

2019.
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4A, A status conference will be held with the undersigned at 2310 U.S.
Courthouse, Rochester, New York on December 10, 2019, at 10:40 a.m., to discuss the status of
the case and the possibility of settlement.

5. All factual discovery in this case, including depositions, shall be
completed within forty-five (45) days after the Court’s decision on Plaintiff’s Motion for
Class Certification of the New York Labor Law Claim. All motions to compel discovery
shall be filed at least thirty (30) days prior to the factual discovery cutoff.

6. Parties shall identify any expert witnesses pursuant to Fed. R. Civ. P.
26(a)(2)(A) and provide reports pursuant to Rule 26(a)(2)(B) and/or disclosures pursuant to Rule
26(a)(2)(C) within fourteen (14) days after the close of fact discovery. Parties shall complete
all discovery relating to experts, including depositions, within thirty (30) days after the
deadline for the disclosure of all expert reports.

7. Dispositive motions, if any, shall be filed no later than thirty (30) days
after the deadline for the completion of expert discovery. Unless a consent to proceed before
this Court has been filed, such motions shall be made returnable before Judge Wolford.

8. A trial date status conference pursuant to Fed. R. Civ. P. Rule 16(e) and
Local Rule 16 will be held, if necessary, at a date and time to be determined by the trial judge
after determination of dispositive motions. If no dispositive motions are filed, counsel shall
immediately contact the trial judge so that a trial date status conference can be scheduled.

At least seven (7) days prior to the trial date status conference, the parties

shall file a joint case status report setting forth the information described below. If the parties
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disagree as to the information to be provided, the report must set forth their different responses.

The joint status report shall contain:

(1)

(2)

(3)

(4)

Nature of the Case: Set forth a brief description of the action,
identifying the parties, all counsel of record, the relief requested,
any affirmative defenses and any relationship the case may have to
other pending actions.

Motion Practice: Are any motions, dispositive or non-dispositive,
pending? If so, briefly describe the motion. Explain if additional
motion practice is necessary before the matter is ready to be tried.
Settlement: Describe the status of settlement negotiations. If the
parties believe a court supervised settlement/mediation conference
would be of assistance in resolving the case or narrowing disputed
issues, please state.

Trial: State whether the case is ready for trial. If not, explain why.
Set forth an estimate of how long the trial will take and whether the

case is jury or non-jury.

No extension of the above cutoff dates will be granted except upon written

application, made prior to the cutoff date, showing good cause for the extension. Application for

extensions should be made to the Magistrate Judge. Joint or unopposed requests to extend the

deadlines set forth in this order need not be made by formal motion, but rather may be sought in a

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letter to the court. Letter requests must detail good cause for the extension and propose new
deadlines.
IT IS SO ORDERED.

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MARIAN W. PAYSON
United States Magistrate Judge

Dated: Rochester, New York
March 21,2019
